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                UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA

PACE-O-MATIC, INC.,

              Plaintiff,                 CIVIL ACTION NO. 1:20-cv-00292

              v.                         (WILSON, J.)
                                         (SAPORITO, M.J.)
ECKERT SEAMANS CHERIN &
MELLOTT, LLC,

              Defendant.

                                   ORDER

     AND NOW, this 16th day of November, 2021, in accordance with the

accompanying Memorandum, IT IS HEREBY ORDERED THAT:

     1.      With respect to the documents at issue on remand (see Doc.

114), the motion to compel discovery by plaintiff POM1 (Doc. 50) is

GRANTED, and the motion for a protective order by defendant Eckert2

(Doc. 44), the motion to quash subpoena by non-party subpoena recipient

Parx3 (Doc. 48), and the motion for a protective order or to quash

subpoena by non-party subpoena recipient HMS4 (Doc. 52) are DENIED;




     1 Pace-O-Matic, Inc.
     2 Eckert Seamans Cherin & Mellott, LLC.
     3 Greenwood Gaming & Entertainment d/b/a Parx Casino.
     4 Hawke McKeon & Sniscak LLP.
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and

      2.       Based on our in camera review, the movants’ objections are

OVERRULED, and the following documents shall be PRODUCED to

the plaintiffs without redaction within twenty-one (21) days:

           •   2019_12_13_13_45_48.pdf;
           •   2019_12_13_15_24_35.pdf;
           •   2019_12_13_16_58_02.pdf;
           •   2019_12_13_17_04_24.pdf;
           •   2019_12_13_17_05_37.pdf;
           •   2019_12_14_11_06_16.pdf;
           •   2019_12_16_16_56_58.pdf;
           •   2019_12_18_02_55_49.pdf;
           •   2019_12_18_12_12_16.pdf;
           •   2019_12_18_12_57_27.pdf;
           •   2019_12_18_14_04_35.pdf;
           •   2019_12_18_14_12_23.pdf;
           •   2019_12_18_14_42_06.pdf;
           •   2019_12_18_15_14_03.pdf;
           •   2019_12_19_16_22_36.pdf;
           •   2020_01_13_13_05_02.pdf;
           •   2020_01_13_13_26_46.pdf;
           •   2020_01_13_13_39_23.pdf;
           •   2020_01_13_17_16_53.pdf;
           •   2020_01_13_18_05_01.pdf;
           •   2020_01_14_15_49_07.pdf;
           •   2020_01_14_15_55_27.pdf;
           •   2020_01_14_16_24_06.pdf;
           •   2020_01_14_17_37_03.pdf;
           •   2020_01_14_19_46_34.pdf;
           •   2020_01_14_23_55_57.pdf;
           •   2020_01_15_07_49_00.pdf;
           •   2020_01_15_07_50_51.pdf;
           •   2020_01_15_07_51_56.pdf;
           •   2020_01_16_18_09_26.pdf;

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 •   2020_01_16_19_41_46.pdf;
 •   2020_01_17_16_23_45.pdf;
 •   2020_01_17_16_39_22.pdf;
 •   2020_01_17_16_45_14.pdf;
 •   2020_01_17_16_51_18.pdf;
 •   2020_01_19_16_01_31.pdf;
 •   2020_01_22_16_28_25.pdf;
 •   2020_01_22_18_44_52.pdf;
 •   2020_01_23_07_21_42.pdf;
 •   2020_01_23_09_19_41.pdf;
 •   2020_01_23_09_40_35.pdf;
 •   2020_01_23_10_54_41.pdf;
 •   2020_01_23_10_58_33.pdf;
 •   2020_01_23_11_19_43.pdf;
 •   2020_01_23_11_29_40.pdf;
 •   2020_01_26_22_47_08.pdf;
 •   2020_01_26_22_45_37.pdf;
 •   2020_01_27_19_04_50.pdf;
 •   2020_01_30_11_34_32.pdf;
 •   2020_01_30_11_34_33.pdf;
 •   2020_01_30_12_03_36.pdf;
 •   2020_01_30_13_04_55.pdf;
 •   2020_01_30_13_06_10.pdf;
 •   2020_02_04_12_05_21.pdf;
 •   2020_02_04_12_53_05.pdf;
 •   2020_02_04_16_21_41.pdf;
 •   2020_02_05_10_24_31.pdf;
 •   2020_02_06_08_19_01.pdf;
 •   2020_02_06_09_56_51.pdf;
 •   2020_02_07_14_10_16.pdf;
 •   2020_02_07_14_10_56.pdf;
 •   2020_02_07_16_11_26.pdf;
 •   2020_02_07_16_19_05.pdf;
 •   2020_02_07_16_47_19.pdf;
 •   2020_02_10_14_38_15.pdf;
 •   2020_02_10_17_48_35.pdf;
 •   2020_02_12_11_58_58.pdf;


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 •   2020_02_12_11_59_15.pdf;
 •   2020_02_13_17_35_37.pdf;
 •   2020_02_18_10_57_43.pdf;
 •   2020_02_20_16_10_20.pdf;
 •   2020_02_20_16_16_24.pdf;
 •   2020_02_27_15_07_59.pdf;
 •   2020_04_07_11_31_00.pdf;
 •   2020_05_01_14_25_10.pdf;
 •   2020_05_01_14_33_41.pdf;
 •   2020_05_01_17_12_49.pdf;
 •   2020_05_01_23_09_28.pdf;
 •   2020_05_04_09_49_02.pdf;
 •   2020_05_04_12_24_38.pdf;
 •   2020_05_04_12_26_39.pdf;
 •   2020_05_04_12_28_31.pdf;
 •   2020_05_07_10_48_18.pdf;
 •   2020_05_07_11_23_40.pdf;
 •   2020_05_07_11_24_31.pdf;
 •   2020_05_07_17_02_24.pdf;
 •   2020_05_11_12_53_48.pdf;
 •   2020_05_12_10_26_15.pdf;
 •   2020_05_12_17_19_04.pdf;
 •   2020_05_14_11_42_01.pdf;
 •   2020_05_15_10_13_45.pdf;
 •   2020_05_15_16_12_26.pdf;
 •   HMS-000088–HMS-000112;
 •   HMS-000113;
 •   HMS-000114–HMS-000193;
 •   HMS-000194–HMS-000198;
 •   HMS-000199–HMS-000200;
 •   HMS-000201–HMS-000202;
 •   HMS-000203–HMS-000205;
 •   HMS-000206–HMS-000208;
 •   HMS-000209–HMS-000249;
 •   HMS-000250–HMS-000253;
 •   HMS-000254–HMS-000257;
 •   HMS-000258–HMS-000261;


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 •   HMS-000262–HMS-000555;
 •   HMS-000556–HMS-000557;
 •   HMS-000558;
 •   HMS-000559–HMS-000592;
 •   HMS-000593–HMS-000594;
 •   HMS-000595–HMS-000628;
 •   HMS-000629–HMS-000630;
 •   HMS-000631–HMS-000633;
 •   HMS-000634–HMS-000637;
 •   HMS-000638–HMS-000671;
 •   HMS-000672;
 •   HMS-000673–HMS-000708;
 •   HMS-000710;
 •   HMS-000723–HMS-000724;
 •   HMS-000733–HMS-000736;
 •   HMS-000737–HMS-000739;
 •   HMS-000740–HMS-000741;
 •   HMS-000742;
 •   HMS-000743–HMS-000744;
 •   HMS-000812–HMS-000813;
 •   HMS-000814;
 •   HMS-000817–HMS-000818;
 •   HMS-000819–HMS-000820;
 •   HMS-000821–HMS-000823;
 •   HMS-000824–HMS-000831;
 •   HMS-000832–HMS-000833;
 •   HMS-000834–HMS-000839;
 •   HMS-000840–HMS-000842;
 •   HMS-000843–HMS-000846;
 •   HMS-000847;
 •   HMS-000848–HMS-000860;
 •   HMS-000861–HMS-000865;
 •   HMS-000866–HMS-000914;
 •   HMS-000915–HMS-000923;
 •   HMS-000924;
 •   HMS-000925;
 •   HMS-000927–HMS-000928;


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 •   HMS-000929;
 •   HMS-000930;
 •   HMS-000931–HMS-000933;
 •   HMS-000934–HMS-000935;
 •   HMS-000939–HMS-000941;
 •   HMS-000942–HMS-000945;
 •   HMS-000946–HMS-000948;
 •   HMS-000985–HMS-000997;
 •   HMS-000998–HMS-001007;
 •   HMS-001008–HMS-001012;
 •   HMS-001013–HMS-001016;
 •   HMS-001017–HMS-001020;
 •   HMS-001021–HMS-001022;
 •   HMS-001023–HMS-001029;
 •   HMS-001030–HMS-001048;
 •   HMS-001057–HMS-001061;
 •   HMS-001062–HMS-001064;
 •   HMS-001065–HMS-001066;
 •   HMS-001067–HMS-001076;
 •   HMS-001077–HMS-001080;
 •   HMS-001081–HMS-001082;
 •   HMS-001120–HMS-001129;
 •   HMS-001130;
 •   HMS-001133–HMS-001161;
 •   HMS-001162–HMS-001194;
 •   HMS-001195–HMS-001197;
 •   HMS-001198;
 •   HMS-001201–HMS-001202;
 •   HMS-001203–HMS-001204;
 •   HMS-001205–HMS-001220;
 •   HMS-001221–HMS-001222;
 •   HMS-001223–HMS-001251;
 •   HMS-001252–HMS-001253;
 •   HMS-001254–HMS-001281;
 •   HMS-001282–HMS-001298;
 •   HMS-001299–HMS-001301;
 •   HMS-001302–HMS-001306;


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 •   HMS-001307–HMS-001310;
 •   HMS-001311–HMS-001315;
 •   HMS-001316–HMS-001319; and
 •   HMS-001326–HMS-001330.




                                  s/Joseph F. Saporito, Jr.
                                  JOSEPH F. SAPORITO, JR.
                                  United States Magistrate Judge




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